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David Hernandez

DC-16-08769
CAUSE NO.

 

ST JOHN NIlSS|ONARY BAPTlST
CHURCH, |NC.,
Plaintiff

lN THE DlSTRlCT COURT

§
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vs. §
§ DALLAs couNTY, TExAs
GREAT AMERicAN leuRANcE §
coileANY §
Defendant § JuchiAL DisTRlcT
PLA\NT\FF’s oRiGlNAL PETiTloN
To THE HoNoRABLE JuDGE oF sAiD couRT;

COl\/lES NOVV, ST JOHN l\/||SS|ONARY BAPTIST CHURCH, hereinafter

“Plaintiff” files this complaint Of GREAT A|\/iER|CAN |NSURANCE CO|\/|PANY,

hereinafter “Defendant” Would respectfully show the Court the following

A. Discoverv Control Plan
Piaintifi intends to conduct discovery under l_evel 2 of Te)<as Rule of Civil
Procedure 190.

B. Jurisdiction and Venue

The claims asserted arise under the common law of Te)<as. This Court has
jurisdiction and venue is proper because the events that are the basis of this cause

of action occurred in Dallas County, `l'exas.

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C- P_ar_f_i§§
P|aintiff, ST JOHN l\/|lSSlONARY BAPT|ST CHURCH, |nc. is an
incorporated non-profit, church under the laws of the State of Te)<as and is located
at 2600 South |\/larsalis Avenue, Dallas, Dallas County, Texas.

Defendant, GREAT Al\/iERlCAN |NSURANCE COi\/iPANY is an incorporated
insurance group based out of Cincinnati, Ohio whose principal office is located at
301 E. Fourth, Cincinnati Ohio 45202, and is authorized to do business in Texas
and may be served with process by serving its President Carl H. |_indner ill at 301

E. Fourth, Cincinnati Ohio 45202. Plaintiff request issuance citation at this time.

D. l_=Lts

This organization has been known throughout the community for years. As an
operating church and to assure protection against damage seen and unforeseen
St. John obtained insurance from Great American. The coverage period in
question was from December 30, 2014 through December 30, 2015. lt was during
this period of time that non-members of the church brought a lawsuit against St,
John surreptitiously using the name of the church to sue itself. This lawsuit was
successfully defended and dismissed l-lowever, not without several failed
attempts seeking legal redress against St, John. Ultimateiy the Court sided with
St John and dismissed the lawsuits it was after this period of time that St John
filed a claim to recover all the monies spent in defending the various lawsuits.

Great American denied this claim on more than one occasion.

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As a basis for denying the claim Great American cited to the language within
the contract itself, which was drafted by Great American to deny the claim. The
contract specifically allows an insured to recover attorney fees and other costs in
defending itself. The contract specifically states “[t]he insureds shall not incur
costs of defense or other loss. . (emphasis added). As a result, the insured relied
on the specific terms of the contract and in those terms the insurer denied the
claim.
Counsel for Piaintiff again attempted to negotiate and understand basis for
denying the claim but all to no avai|. Thus with no other remedies Plaintiff brings

this lawsuit because of the damages suffered

E. Causes of Action
1. Deceptive Trade Practices Act
As a claim for Deceptive Trade Practices Act against the Defendant, Plaintiff
re-al|eges and incorporates by reference paragraphs hereinabove Plaintiff is a
consumer, Defendant committed wrongful acts by breaching the terms of the
contract between Plaintiff and Defendant. This breach was both the case in fact
and proximate cause of Plaintiff’s injuries P|aintiff if entitled to recover for the
damages suffered because of Plaintiff’s practices.
/l/Iisrepresentat/'on - Defendant insured Plaintiff against wrongful acts.
Plaintiff misrepresented the specific terms and warranty to Plaintiff. Plaintiff was
harmed due to other person’s actions. Plaintiff filed an insurance claim to recover

the damages Defendant denied an insurance claim filed by the Plaintiff under the

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specific terms of the contract Defendant’s misrepresentation of material facts
caused injury to P|aintiff.

Com‘ract Unconsc/'onab/e - The insurance policy between Defendant and
Plaintiff calls for Defendant to cover wrongful acts done to Plaintiff. Plaintiff filed
an insurance claim with the Defendant to recover expenses lost by Plaintiff
because of wrongful acts. Defendant denied the claim on the basis of “wrongful

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act. Therefore the contract between Plaintiff and Defendant is thus
unconscionable Unconscionable acts under the DTPA are recoverable An
ordinary person would conceive insurance covers wrongful acts committed against
the insured and should be covered.

2. Deceptive lnsurance Practices

As a claim for Deceptive Trade Practices Act (DTPA) against the Defendant,
P|aintiff re-alleges and incorporates by reference paragraphs hereinabove Plaintiff
is a consumer. Defendant entered into a contract with Plaintiff. Defendant
committed wrongful acts by breaching them terms of the contract between Plaintiff
and Defendant This breach was both the case in fact and proximate cause of
P|aintiff’s injuries Plaintiff is entitled to recover for the damages suffered because
of Plaintiff’s practices

3. Breach of Contract

As a claim for Breach of Contract against the Defendant, Plaintiff re-alleges and
incorporates by reference paragraphs hereinabove Plaintiff entered into a

contract with Defendant seeking insurance coverage Defendant insured Plaintiff.

Defendant filed a claim seeking to recover from damages suffered. Defendant

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denied Plaintiff’s claim. Defendant breached the terms of the contract by failing to
cover applicable damages caused against the Plaintiff. Defendant’s breach
caused injury to the Plaintiff.

4. Bad Faith

As a claim for Bad Faith against the Defendant, Plaintiff re-alleges and
incorporates by reference paragraphs hereinabove Plaintiff entered into a
contract with Defendant seeking insurance coverage Defendant insured Plaintiff.
Defendant filed a claim seeking to recover from damages suffered. Defendant
denied P|aintiff’s claim. Liabi|ity toward Plaintiff is reasonably clear. There are no
sufficient legal grounds or equitable grounds to deny Plaintiff’s insurance claim.
Defendant acted in bad faith in failing to adhere to the terms of the policy written
by Defendant Plaintiff has suffered harm because of Defendant’s actions

5. Nloney Had and Received

As a claim for l\/loney Had and Received against the Defendant, Plaintiff re~
alleges and incorporates by reference paragraphs hereinabove Defendant holds
money owed to Plaintiff. Plaintiff is entitled to the proceeds from an insurance
claim filed against the Defendant in both equity and good conscience Defendant’s

failure to turn over such monies caused injury to the P|aintiff.

F. No Adequate Remedv at Law

There are not adequate remedies at law available to Plaintiff.

G. Jury Tria|

Plaintiff hereby demands a trial byjury.

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H. Damages

As a direct and proximate result of the occurrences made the basis of

this |awsuit, Piaintiff suffered damages including:

o Compensatory damages against Defendant;

~Actual damages;

o Consequential damages;

o Exemplary damages;

o Pre-judgment interest at the highest rate recoverable by law;

o Witness fees

o Such other relief as the Court may deem just and proper',

~Attorney’s fees; and

o Costs of Court.

I. Prayer

Plaintiff prays that a citation issue and be served upon Defendant in a form
and manner prescribed by law, requiring Defendant appear and answer, and that
upon final hearing, P|aintiff have judgment against Defendant in a total sum in
excess of the maximum jurisdictional limits of this Court, prejudgment and post-
judgment interest, all costs of Court, exemplary damages and all such other and

further relief, to which Plaintiff may show is justly entitled

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Respectful|y submitted,
l_. Cl-lATl\/lON & ASSOCIATES

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